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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    CURTIS LEE,

                          Plaintiff,
                                                                 CIVIL ACTION
         v.                                                      NO. 18-05332

    CITY OF PHILADELPHIA, et al.,

                          Defendants.


                                              Order
        Curtis Lee sued the City of Philadelphia and several Philadelphia Police Officers

for violating his rights under 42 U.S.C. § 1983, the United States Constitution and

Pennsylvania state law. The Defendants moved for judgment on the pleadings (ECF

No. 20). The Court denied that motion as to Lee’s failure-to-intervene claims against

the individual defendants. See (Order on Mot. for J. on Pleadings ¶ 8, ECF No. 30).

The Court granted the remainder of the motion. Lee’s state-law claims against the City

and the official-capacity claims against the individual defendants were dismissed with

prejudice; his other claims without prejudice.1 See (id. at ¶¶ 1–7). Lee filed an

Amended Complaint (ECF No. 34), which the Defendants now move to dismiss, 2 see

(Mot. to Dismiss Am. Compl., ECF No. 37). In his Response, Lee withdrew his claims

against all individual defendants except Vandermay and Killman. (Resp. to Mot. to

Dismiss 14, ECF No. 40).




1       The Court also dismissed Counts X, XI, XV, XVI and XVIII with prejudice as duplicative of
other counts. See (Order on Mot. for J. on Pleadings ¶ 7).
2       The Defendants concede that Lee has stated claims against Defendant Vandermay for
assault and battery, as well as a 42 U.S.C. § 1983 claim against Vandermay for excessive force under
the Fourth Amendment. See (Mot. to Dismiss Am. Compl. 15, ECF No. 37).

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         After reviewing Defendants’ Motion to Dismiss Amended Complaint (ECF No.

37) and Lee’s Response to Motion to Dismiss (ECF No. 40) and based partly on the

Court’s prior Memorandum3 (ECF No. 29), it is ORDERED that the Motion is

GRANTED in part and DENIED in part. All dismissals are with prejudice.

    1.      All claims against Defendants Hunter, Rebstock, Sutlock, Schweitzer,

            Maminski, Hamoy and Woods are DISMISSED as withdrawn, see (Resp. to

            Mot. to Dismiss 14);

    2.      The Motion is DENIED with respect to the 42 U.S.C. § 1983 claim in Count I

            against Defendant Killman for failure to intervene. All other claims in Count

            I are DISMISSED as duplicative of, or encompassed in, other counts;4

    3.      Count II is DISMISSED;5

    4.      Count III is DISMISSED as duplicative of Count II;

    5.      Count IV is DISMISSED;6

    6.      Count V is DISMISSED for lack of any supporting facts suggesting that

            Vandermay and Killman discriminated against or treated Lee differently

            because of his race or disability;



3      As part of this Order, the Court incorporates the factual background and findings from its
prior Memorandum (ECF No. 29).
4       As Defendants concede, Lee has stated a 42 U.S.C. § 1983 claim against Vandermay in Count
I. See (Resp. to Mot. to Dismiss 15). That claim may continue.
5       The Eighth Amendment claims in Count II fail to allege facts suggesting that Vandermay
and Killman personally participated in any alleged violation of the Eighth Amendment. See Rode v.
Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). All other claims in Count II are duplicative of, or
encompassed in, other counts.
6       The Fourth Amendment claim in Count IV for unreasonable search and seizure is barred
under Heck v. Humphey, 512 U.S. 477 (1994), for the reasons given in the Court’s prior
Memorandum (ECF No. 29). The excessive bail, equal protection and due process claims lack any
supporting allegations. All other claims in Count IV are duplicative of, or encompassed in, other
counts. See (Am. Compl. ¶¶ 81–86).

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    7.     Count VI is DISMISSED;7

    8.     The Motion is DENIED with respect to the state-law claim in Count VII that

           Defendant Killman failed to protect Lee from Defendant Vandermay’s alleged

           assault and battery;

    9.     Count VIII against the City of Philadelphia is DISMISSED for failure to

           adequately allege a basis for municipal liability under Monell v. Department

           of Social Services, 436 U.S. 658 (1978), and for the same reasons given in the

           Court’s prior Memorandum (ECF No. 29). To the extent that Count VIII

           realleges state-law claims against the City, those claims are—again—

           DISMISSED;

    10.    All claims for monetary relief under the Pennsylvania Constitution are (once

           again) DISMISSED;

    11.    Lee’s request for leave to amend is DENIED.8




7       The claims of false arrest, false imprisonment and malicious prosecution in Count VI are
barred under Heck, for the reasons given in the Court’s prior Memorandum (ECF No. 29). All other
claims in Count VI are duplicative of, or encompassed in, other counts. See (Am. Compl. ¶¶ 91–94).
8        The Court has already given Lee a chance to cure the deficiencies in his Complaint. Rather
than do so, Lee reiterates—often verbatim—the same inadequate allegations that the Court
previously dismissed. What minor changes Lee did make are not helpful. The Amended Complaint,
like its predecessor, is an “abject mess” of rambling, duplicative and frivolous allegations, (Mem. 1,
ECF No. 29.) Worse still, it repeats claims that the Court had already dismissed with prejudice.
Compare (Am. Compl. ¶ 108 (raising state-law claims against the City)), with (Order ¶ 5, ECF No. 30
(dismissing state-law claims against the City with prejudice)). Throughout this litigation, Lee has
done everything possible to delay proceedings. See, e.g., (First Mot. for Stay, ECF No. 6); (Mot. to
Reconsider Order Denying First Mot. for Stay, ECF No. 12); (Second Mot. for Stay, ECF No. 19);
(Resp. to Mot. to Dismiss 16 (again asking for a stay)); (Mot. for Extension to File Am. Compl., ECF
No. 32); (Mot. for Extension to file Resp. to Mot. to Dismiss, ECF No. 38). Given Lee’s dilatory
tactics and disregard for the Court’s prior orders in reasserting duplicative, previously dismissed and
baseless claims, the Court finds that Lee’s request for leave to amend is in bad faith and calculated
to delay proceedings. Under these circumstances, justice requires denying Lee’s request for leave to
amend and allowing him to continue with only the claims that he has adequately alleged in the
Amended Complaint.

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                                       BY THE COURT:


                                       /s/ Gerald J. Pappert
                                       GERALD J. PAPPERT, J. 11/13/2019




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